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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 21-15-APM
THOMAS EDWARD CALDWELL                            *
       *       *       *      *       *       *        *     *         *       *     *

                                             ORDER
       Upon consideration of the Defendant’s Unopposed Motion to Amend Conditions of
Release, it is hereby ordered by the United States District Court for the District of Columbia that
the Motion be GRANTED and that the Defendant, with approval by Pretrial Services, be
permitted to remove his ankle monitor for his MRI procedure scheduled on March 15, 2023 in
Martinsburg, West Virginia.


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       Date                                   Honorable Amit P. Mehta
                                              United States District Court
